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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE:
YUKO KIMURA KOENIG                                       :     BK. No. 18-17134-ref
A/K/A YUKO KIMURA A/K/A YUKO KOENIG                      :
                     Debtor                              :     Chapter No. 7
                                                         :
U.S. BANK TRUST, N.A., AS TRUSTEE FOR                    :
LSF10 MASTER PARTICIPATION TRUST                         :
                        Movant                           :
                 v.                                      :     11 U.S.C. §362
YUKO KIMURA KOENIG                                       :
A/K/A YUKO KIMURA A/K/A YUKO KOENIG                      :
                 and                                     :
CHRISTINE C. SHUBERT (TRUSTEE)                           :
                        Respondents

       MOTION OF U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF10 MASTER
     PARTICIPATION TRUST FOR RELIEF FROM AUTOMATIC STAY UNDER §362
              PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001

               Movant, by its attorneys, PHELAN HALLINAN DIAMOND & JONES, LLP, hereby

requests a termination of Automatic Stay and leave to foreclose on its mortgage on real property

owned by Debtor, YUKO KIMURA KOENIG A/K/A YUKO KIMURA A/K/A YUKO KOENIG

A/K/A YUKO KIMURA-KOENIG.

               1.      Movant is U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF10

MASTER PARTICIPATION TRUST.

               2.      Debtor, YUKO KIMURA KOENIG A/K/A YUKO KIMURA A/K/A YUKO

KOENIG A/K/A YUKO KIMURA-KOENIG, is the owner of the premises located at 1551 SPRUCE

ST, NORFOLK, VA 23502, hereinafter known as the mortgaged premises.

               3.      Movant is the holder of a mortgage on the mortgaged premises.

               4.      Movant instituted foreclosure proceedings on the mortgage because of Debtor's

failure to make the monthly payment required hereunder.

               5.      The foreclosure proceedings instituted were stayed by the filing of the instant

Chapter 7 Petition.

               6.      As of March 11, 2019, the principal balance owed on the loan is $105,519.24.

               7.      Interest in the amount of $8,073.24 has accrued since the application of the last
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payment received from the Debtor.

               8.      In addition, the following charges, fees and costs have been added to the

balance of the loan and are due and owing to Movant: Escrow Advance in the amount of $4,057.90,

Property Inspection Fees in the amount of $109.45, and Foreclosure Fees and Costs in the amount of

$833.91, which consists of the following charges: Service Costs in the amount of $1.41, Attorney Fees

in the amount of $442.50, and Title costs in the amount of $390.00.

               9.      As of March 11, 2019, the payoff due on the mortgage is $118,593.74.

               10.     Debtor has failed to tender payments for the months of September 2017

through March 2019. The monthly payments for September 2017 through January 2018 are $780.40

each, the monthly payments for February 2018 through March 2019 are $793.10 each, together with

Property Inspection Fees in the amount of $109.45, and Foreclosure Fees and Costs in the amount of

$833.91, which consists of the following charges: Service Costs in the amount of $1.41, Attorney Fees

in the amount of $442.50, and Title costs in the amount of $390.00. The next payment is due on or

before April 1, 2019 in the amount of $793.10.

               11.     As of March 11, 2019, the amount necessary to reinstate the account is

$15,948.76.

               12.     Movant, U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF10 MASTER

PARTICIPATION TRUST, requests the Court award reimbursement in the amount of $931.00 for

the legal fees and costs associated with this Motion.

               13.     Movant has cause to have the Automatic Stay terminated as to permit Movant

to complete foreclosure on its mortgage.

               14.     Movant specifically requests permission from the Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law.

               15.     Respondent, CHRISTINE C. SHUBERT, is the Trustee appointed by the

Honorable Court.
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               WHEREFORE, Movant respectfully requests that this Court enter an Order;

               a.      Modifying the Automatic Stay under Section 362 with respect to 1551

SPRUCE ST, NORFOLK, VA 23502 (as more fully set forth in the legal description attached to the

Mortgage of record granted against the Premises), as to allow Movant, its successors and assignees, to

proceed with its rights under the terms of said Mortgage; and

               b.      Movant specifically requests permission from this Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law; and

               c.      Granting any other relief that this Court deems equitable and just.

                                                     /s/ Jerome Blank, Esquire
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